Case 4:15-cv-00205-P Document9 Filed 04/27/15 Page 1 of 3 PagelD 29

US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
UNITED STATES DISTRICT COURT FILED
FOR THE
NORTHERN DISTRICT OF THXAS
FORT WORTH APR 2 7 2015
Lisa A. Biron, ) CLERK, US. DISTRICT COURT
Plaintiff ) By
) Deputy
)
Vv. Civil Action No.: 4:15-CV-205-0
)
Jody R. Upton, Warden, )
FMC-Carswell, et al., )
Defendants. )
)
)
)
)

MOTION TO REDUCE MONTHLY PAYMENT AMOUNT OF FILING FEE

On April 15, 2015 this Honorable Court ordered Plaintiff to pay the
$ 320.09 balance of the filing fee in monthly installments of 20% of each
deposit made to her inmate trust account. Plaintiff requests that this
Court stay this order until the outcome of this case, or, in the altern-
ative, lower the percentage of payment amount to 5% of her deposits.
Plaintiff states in support as follows:
1. The Plaintiff receives only $ 100.00 per month from her family. This
$ 100.00 is the total of $ 50.00 from her elderly (fixed income) mother, and
$ 50.00 from her elderly (fixed income) father.
2. The Plaintiff is responsible for buying her own soap and hygiene as
the institutional soap is not for sensitive skin.
3. Further, Plaintiff must buy all of her over the counter medications.
4. The commissary prices are exorbitant: 12 Prilosec $ 15.45
50 Ibuprofen $ 2.45
100 Antacid Tabs $ 3.75

1 Single Bar Dial Soap $

1.00
1 120z Suave Body Wash $ 3.35
Case 4:15-cv-00205-P Document9 Filed 04/27/15 Page 2of3 PagelD 30

This is just a small sampling of the commissary prices which are raised
30-35% above the cost of the products.
5. Petitioner suggests that it is within the Court's discretion to stay
its payment order until the outcome of this case.

WHEREFORE, Plaintiff respectfully requests the Court grant her the

relief requested herein and any other relief deemed just or equitable.

Respectfully submitted,

4/2315 Kea (Cran.

Date Lisa A. Biron
# 12775-049
FMC Carswell
P.O. Box 27137
Fort Worth, TX 76127

I, Lisa A. Biron, declare and affirm, under penalty of perjury, that the
foregoing information is true and correct.

ule3)15 Kora Boer

Date Lisa A. Biron

Case 4:15-cv-00205-P Document9 Filed 04/27/15 Page 3of3 PagelD 31

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